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                                                   APPEAL,CLOSED,SCA−SW,Sealed_Case
                              U.S. District Court
                   District of Columbia (Washington, DC)
          CIVIL DOCKET FOR CASE #: 1:22−sc−02144−BAH *SEALED*

 FORENSIC COPY OF THE DEVICE IDENTIFIED IN         Date Filed: 08/18/2022
 ATTACHMENT A                                      Date Terminated: 12/29/2022
 Assigned to: Chief Judge Beryl A. Howell          Jury Demand: None
 Case in other court: 23−03001                     Nature of Suit: 890 Other Statutory
 Cause: Civil Miscellaneous Case                   Actions
                                                   Jurisdiction: Federal Question
 In Re
 FORENSIC COPY OF THE DEVICE
 IDENTIFIED IN ATTACHMENT A

 Interested Party
 UNITED STATES OF AMERICA            represented by Thomas Windom
                                                    555 Fourth Street NW
                                                    Washington, DC 20530
                                                    202−252−7846
                                                    Email: thomas.windom@usdoj.gov
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                   Timothy Adam Duree
                                                   U.S. DEPARTMENT OF JUSTICE
                                                   Money Laundering and Asset Recovery
                                                   Section
                                                   1400 New York Avenue, NW
                                                   Washington, DC 20530
                                                   202−616−2660
                                                   Email: timothy.duree2@usdoj.gov
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

 Movant
 REPRESENTATIVE SCOTT G.             represented by John S. Irving , IV
 PERRY                                              EARTH & WATER LAW LLC
                                                    1455 Pennsylvania Avenue, N.W., Suite
                                                    400
                                                    Washington, DC 20004
                                                    301−807−5670
                                                    Email: jirving1@verizon.net
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                   John P. Rowley , III
                                                   JPROWLEY LAW PLLC


                                                                                            1
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                                                              8639 Chase Glen Circle
                                                              Fairfax Station, DC 22039
                                                              (703) 402−8800
                                                              Email: john.rowley@jprowleylaw.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED


  Date Filed   #   Page Docket Text
  08/18/2022   1        APPLICATION for Search/Seizure Warrant by USA pursuant to 18 U.S.C.
                        2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) filed by UNITED STATES OF
                        AMERICA. (Attachments: # 1 Exhibit A)(zstd) (Entered: 08/18/2022)
  08/18/2022   2        MOTION to Seal Case by UNITED STATES OF AMERICA. (Attachments: # 1
                        Text of Proposed Order)(zstd) (Entered: 08/18/2022)
  08/18/2022   3        ORDER granting 2 Motion to Seal Case. Signed by Chief Judge Beryl A.
                        Howell on August 18, 2022. Counsel has been notified electronically. (lcbah4)
                        (Entered: 08/18/2022)
  08/18/2022   4        SEARCH WARRANT ISSUED BY Chief Judge Beryl A. Howell on August
                        18, 2022. Signed by Chief Judge Beryl A. Howell on August 18, 2022. Counsel
                        has been notified electronically.(lcbah4) (Additional attachment(s) added on
                        10/17/2022: # 1 Exhibit) (zstd). (Entered: 08/18/2022)
  10/05/2022   5        NOTICE of Appearance by John P. Rowley, III on behalf of
                        REPRESENTATIVE SCOTT G. PERRY. (zhsj) (Entered: 10/06/2022)
  10/05/2022   6        NOTICE of Appearance by John S. Irving, IV on behalf of
                        REPRESENTATIVE SCOTT G. PERRY. (zhsj) (Entered: 10/06/2022)
  10/06/2022   7        MOTION for Extension of Time to Comply With the Conditions of the Search
                        Warrant Issued on August 8, 2022 by REPRESENTATIVE SCOTT G. PERRY.
                        (Attachments: # 1 Text of Proposed Order)(zhsj) (Entered: 10/06/2022)
  10/06/2022            MINUTE ORDER: The Court ORDERS the government to file any response to
                        Representative Scott G. Perry's 7 Motion for Extension of Time to Comply with
                        the Conditions of the Search Warrant Issued on August 8, 2022 by October 11,
                        2022; and FURTHER ORDERS Rep. Perry to file any reply in support of his
                        Motion by October 13, 2022. So ORDERED, by Acting Chief Judge James E.
                        Boasberg on 10/6/2022. Counsel has been notified electronically.(znbn)
                        (Entered: 10/06/2022)
  10/11/2022   8        Memorandum in opposition to 7 Motion for Extension of Time to filed by
                        UNITED STATES OF AMERICA. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, #
                        3 Exhibit 3, # 4 Exhibit 4)(zstd) (Entered: 10/12/2022)
  10/13/2022            NOTICE of Hearing on Motion. The parties shall take notice that a Motion
                        Hearing on Representative Scott G. Perry's 7 MOTION for Extension of Time to
                        Comply With the Conditions of the Search Warrant Issued on August 8, 2022, is
                        scheduled for Tuesday, October 18, 2022, at 10:00 AM in Courtroom 22A− In
                        Person before Chief Judge Beryl A. Howell. (ztg) (Entered: 10/13/2022)
  10/13/2022   9        REPLY to opposition to motion re 7 MOTION for Extension of Time to
                        Comply With The Conditions Of The Search Warrant Issued On August 18,


                                                                                                        2
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                     2022. filed by REPRESENTATIVE SCOTT G. PERRY. (zstd) (Entered:
                     10/14/2022)
  10/14/2022         MINUTE ORDER (paperless), DIRECTING, upon consideration of
                     REPRESENTATIVE SCOTT G. PERRY's 7 Motion for Extension of Time to
                     Comply with the Conditions of the Search Warrant Issued on August 18, 2022
                     ("Perry's Mot."), and to facilitate evaluation of PERRY's request for further
                     delay in complying with the court−ordered protocol, see 4 Search Warrant for
                     PERRY's personal cell phone ("SUBJECT PHONE"), dated Aug. 18, 2022,
                     Attachment C, that by October 17, 2022 at 3 PM, PERRY submit:

                     1. The total number of records on the SUBJECT PHONE that been reviewed
                     and (a) withheld as subject to the Speech or Debate privilege; (b) determined not
                     to be subject to the Speech or Debate privilege; (c) withheld on the basis of a
                     privilege other than the Speech or Debate privilege; and (d) as to records in 1(c),
                     identify the specific privilege and the number of records withheld for each such
                     claimed privilege other than the Speech or Debate privilege.

                     2. The total number of records on the SUBJECT PHONE that have not been
                     reviewed to date and have been withheld (a) as potentially subject to the Speech
                     or Debate privilege; (b) as potentially subject to a privilege other than the
                     Speech or Debate privilege; and (c) as to records in 2(b), identify the specific
                     privilege and the number of records withheld for each such claimed privilege
                     other than Speech or Debate privilege.

                     3. Clarify the apparent discrepancies in total numbers of documents, as set out in
                     PERRY's Motion, which states, variously: (a) "a set of 14,489 documents
                     requiring review for Speech or Debate privilege," Perry's Mot. at 5; (b) the
                     color−coded chart with 17 categories of communications, totaling 21,496
                     documents, id. at 6; and (c) the "log of 12,318 documents" provided to the
                     government on October 5, 2022 "as the documents that fell within the categories
                     of information that counsel believed would be subject to the Speech or Debate
                     privilege," id. at 7; see also [8−4] Gov't's Opp'n Ex. 4.

                     4. Identify the evidentiary privilege that PERRY believes would prevent the
                     government from reviewing "otherwise personal and confidential" records,
                     Perry's Mot. at 2, and "private communications with close family and friends,"
                     id. at 13, that otherwise fall within the scope of the Search Warrant. Signed by
                     Chief Judge Beryl A. Howell on October 14, 2022. Counsel has been notified
                     electronically.(lcbah4) (Entered: 10/14/2022)
  10/14/2022         Set/Reset Deadlines: Response to Order of the Court due by 3:00 PM on
                     10/17/2022. (ztg) (Entered: 10/14/2022)
  10/17/2022   10    RESPONSE TO ORDER OF THE COURT re Order dated 10/14/2022 filed by
                     REPRESENTATIVE SCOTT G. PERRY. (zstd) (Entered: 10/17/2022)
  10/18/2022         Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Motion
                     Hearing held on 10/18/2022 re 7 MOTION for Extension of Time to Comply
                     With the Conditions of the Search Warrant Issued on August 8, 2022, filed by
                     REPRESENTATIVE SCOTT G. PERRY. (Order forthcoming). (Court Reporter
                     Elizabeth Saint−Loth.) (ztg) (Entered: 10/18/2022)



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  10/18/2022         MINUTE ORDER (paperless) DIRECTING, upon consideration of the parties'
                     briefing and arguments to the Court at the October 18, 2022, hearing on
                     Representative Scott G. PERRY's 7 Motion for Extension of Time to Comply
                     with the Conditions of the Search Warrant, that:

                     A. By October 18, 2022 at 6 PM, Rep. PERRY shall provide to the government:
                     (1) a privilege log ("Oct. 18 Privilege Log") identifying each record by date,
                     recipients, sender, and subject matter, as required under Attachment C to the 4
                     August 18, 2022 Search Warrant, for the 1,041 records he has reviewed and the
                     33 records in the "Notes" category of extracted information from his personal
                     cell phone ("Subject Phone") that he believes are subject to the Speech or
                     Debate Clause privilege; and
                     (2) submit to the government the following records which Rep. Perry does not
                     claim are protected by the Speech or Debate Clause privilege: (a) 3,788 records
                     already reviewed by Mr. Perry's counsel; (b) 1,076 records classified as "Junk"
                     in the summary chart on page 6 of Rep. Perry's 7 Motion; (c) records contained
                     in the 29 categories on page 4 − 5 of his 7 Motion, which he has not sought to
                     review and which he concedes are unlikely to contain privileged materials; and
                     (d) records from the "Notes" category of extracted information from the Subject
                     Phone not subject to the Speech or Debate Clause privilege.

                     B. By Friday, October 21, 2022, at noon, the GOVERNMENT shall file with
                     the Court a submission addressing:
                     (1) which, if any, of the records identified on the Oct. 18 Privilege Log the
                     government believes are not subject to the Speech or Debate Clause privilege;
                     and
                     (2) whether (a) the Speech or Debate Clause privilege applies to
                     communications found on the personal cell phone of a Member of Congress;
                     (b) the presence of non−legislative third parties to communications otherwise
                     subject to the Speech or Debate Clause privilege vitiates that privilege; (c) the
                     crime−fraud exception is invoked here and, if so, applies to the Speech or
                     Debate Clause privilege. By Monday, October 24, 2022, at 2 PM, Rep. PERRY
                     shall file any opposition to the government's submission; and by Wednesday,
                     October 26, 2022, at 2 PM, the government shall submit any reply.

                     C. Beginning Monday, October 24, 2022, Rep. PERRY shall conduct review,
                     at a rate of 800 records per business day, of the remaining 9,660 records to
                     determine whether he asserts the Speech or Debate Clause privilege as to any
                     record. On Friday, October 28, 2022, and every Friday thereafter, until review
                     of the extracted information from the Subject Phone is complete, Rep. Perry
                     shall provide to the government a privilege log, as required under Attachment
                     C to the 4 August 18, 2022 Search Warrant, identifying any record as to which
                     he asserts the Speech or Debate Clause privilege. In the event that the
                     government objects to the assertion of privilege as to any record, the parties
                     shall confer on a briefing schedule and submit the dispute and proposed
                     briefing schedule to the Court to resolve the dispute. Signed by Chief Judge
                     Beryl A. Howell on October 18, 2022. Counsel has been notified
                     electronically.(lcbah4) (Entered: 10/18/2022)
  10/19/2022   11    JOINT MOTION to Modify Briefing Schedule by REPRESENTATIVE SCOTT
                     G. PERRY, UNITED STATES OF AMERICA. (Attachments: # 1 Text of
                     Proposed Order)(zstd) (Entered: 10/19/2022)


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  10/19/2022         MINUTE ORDER (paperless) GRANTING IN PART and DENYING IN PART
                     Representative Scott G. PERRY's 7 Motion for Extension of Time to Comply
                     with the Search Warrant, as reflected in the Court's Oct. 18, 2022 Minute Order
                     and for the reasons stated on the record at the October 18, 2022 hearing on Rep.
                     Perry's Motion. Signed by Chief Judge Beryl A. Howell on October 19, 2022.
                     Counsel has been notified electronically.(lcbah4) (Entered: 10/19/2022)
  10/19/2022         MINUTE ORDER (paperless) GRANTING the parties' 11 Joint Motion to
                     Modify Briefing Schedule and AMENDING the SCHEDULING ORDER as
                     follows, with all other deadlines remaining the same:

                     1. By Thursday, October 27, 2022, at 5 PM, the Government shall file with the
                     Court a submission addressing: (1) which, if any, of the records identified on the
                     Oct. 18 Privilege Log the Government believes are not subject to the Speech or
                     Debate Clause privilege; and (2) whether (a) the Speech or Debate Clause
                     privilege applies to communications found on the personal cell phone of a
                     Member of Congress; (b) the presence of non−legislative third parties to
                     communications otherwise subject to the Speech or Debate Clause privilege
                     vitiates that privilege; and (c) the crime−fraud exception is invoked here and, if
                     so, applies to the Speech or Debate Clause privilege.
                     2. By Monday, October 31, 2022, at 2 PM, Rep. Perry shall file any opposition
                     to the Government's submission.
                     3. By Wednesday, November 2, 2022, at 2 PM, the Government shall submit
                     any reply. Signed by Chief Judge Beryl A. Howell on October 19, 2022.
                     Counsel has been notified electronically.(lcbah4) (Entered: 10/19/2022)
  10/20/2022         MINUTE ORDER (paperless) DIRECTING the parties to confer and notify the
                     Court, by October 26, 2022, as to how they would like to proceed in the parallel
                     case filed in 22−mc−79, or whether, given the Scheduling Order issued and
                     process underway in this case, Representative Scott G. PERRY intends to file a
                     notice of dismissal in that docket. Signed by Chief Judge Beryl A. Howell on
                     October 20, 2022. Counsel has been notified electronically.(lcbah4) (Entered:
                     10/20/2022)
  10/20/2022   12    MOTION to Partially Unseal for Purpose of Ordering Transcript by UNITED
                     STATES OF AMERICA. (Attachments: # 1 Text of Proposed Order)(zstd)
                     (Entered: 10/20/2022)
  10/20/2022         ORDER GRANTING the government's 12 Motion to Partially Unseal for
                     Purposes of Ordering Transcript. Signed by Chief Judge Beryl A. Howell on
                     October 20, 2022. Counsel has been notified electronically.(lcbah4) (Entered:
                     10/20/2022)
  10/27/2022   13    RESPONSE TO ORDER OF THE COURT (Brief Regarding The
                     Inapplicability of The Speech or Debate Clause to Materials Seized from Rep.
                     Perry) re Minute Order dated 10/19/2022 re. filed by UNITED STATES OF
                     AMERICA. (zstd) (Entered: 10/27/2022)
  10/31/2022   15    RESPONSE re 13 Brief Regarding The Inapplicability of The Speech or Debate
                     Clause filed by REPRESENTATIVE SCOTT G. PERRY. (zstd) (Entered:
                     11/01/2022)
  11/02/2022   17    REPLY re 13 Brief Regarding The Inapplicability of the Speech or Debate
                     Clause to Materials Seized from Rep. Perry filed by UNITED STATES OF


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                     AMERICA. (zstd) (Entered: 11/02/2022)
  11/04/2022   18    MEMORANDUM OPINION and ORDER Regarding the Applicability of the
                     Speech or Debate Clause to the Contents of Rep. Perry's Cell Phone. See Order
                     for further details. Signed by Chief Judge Beryl A. Howell on November 4,
                     2022. Counsel have been notified electronically.(lcbah4) Modified title on
                     11/7/2022 (ztg). (Entered: 11/04/2022)
  11/14/2022   19    Objection to Rep. Perry's Speech Or Debate Privilege Assertions and Request
                     for Court Review by UNITED STATES OF AMERICA (Attachments: # 1 Copy
                     of EarthWater− Scott Perry− Tagged SD Yes−1041 docs, # 2 Copy of
                     20221028_ EarthWater− Scott Perry− Tagged SD Yes− 79 docs, # 3
                     20221104_S&D Yes Log, # 4 20221111_S&D Yes Log)(zstd) (Entered:
                     11/15/2022)
  11/15/2022   20    RESPONSE re 19 Government's Objection to Rep. Perry's Speech Or Debate
                     Privilege Assertions and Request for Court Review filed by
                     REPRESENTATIVE SCOTT G. PERRY. (zhsj) (Entered: 11/16/2022)
  11/16/2022         MINUTE ORDER (paperless) GRANTING, in part, Rep. Perry's unopposed 20
                     Request for Modification ("Perry Mot.") of the Court's 18 November 4, 2022,
                     Order ("Privilege Order"); MODIFYING the previously entered scheduling
                     order; and ISSUING, in accord with the parties agreed−to schedule and Rep.
                     Perry's proposed modifications, see Perry Mot. at 7−8, the following
                     SCHEDULING ORDER:

                     (1) By Friday, November 18, 2022, Rep. Perry will provide the government with
                     (a) any records and communications for which he no longer asserts privilege
                     under the Speech or Debate Clause ("Clause"), and (b) a revised privilege log in
                     an excel spreadsheet for those records and communications that he continues to
                     assert are privileged, with all communications and records categorized per item
                     2(a) of the Privilege Order, see 18 Privilege Order at 12 ("(1) communications
                     with cybersecurity individuals, (2) communications with other Members of
                     Congress and staff, (3) communications with executive branch officials, (4)
                     communications with Trump Campaign officials, and (5) communications with
                     Pennsylvania State legislators"), and with notes providing relevant context for
                     those communications and records; and

                     (2) By Monday, November 28, 2022, at 5:00 PM, Rep. Perry will provide the
                     Court with the following:

                     a. An excel spreadsheet listing all communications and records that Rep. Perry
                     continues to assert are privileged under the Clause, with each entry including the
                     following:
                     (1) columns containing the data fields listed in item 2(c) of the Privilege Order,
                     see 18 Privilege Order at 12 ("i. exhibit number ii. Bates number(s), if any iii.
                     document type (i.e., text, email, Notes app file) iv. date v. recipient(s) vi. sender
                     vii. proposed category, and viii. any additional information concerning the
                     communication, if necessary");
                     (2) a column categorizing that communication or record by the categories
                     outlined in item 2(a) of the Privilege Order; and
                     (3) a column entitled "Notes," with each entry providing context or further
                     explanation for the corresponding documents or communications; and


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                     b. PDF copies of each communication and record that Rep. Perry asserts are
                     privileged under the Clause, sorted and categorized into electronic folders
                     outlined in item 2(a) of the Privilege Order and, within each folder, sorted
                     chronologically with Relativity Control Numbers stamped on the documents;
                     and

                     c. A motion for nondisclosure to the government, explaining the key topics that
                     the communications and records relate to and providing the basis for Rep.
                     Perry's assertion for privilege under the Clause with respect to each topic.
                     Signed by Chief Judge Beryl A. Howell on November 16, 2022. Counsel have
                     been notified electronically.(lcbah4) (Entered: 11/16/2022)
  11/28/2022   21    MOTION for Nondisclosure to the Executive Branch of Information Protected
                     by the Speech or Debate Clause of the United States Constitution by
                     REPRESENTATIVE SCOTT G. PERRY. (zhsj) (Entered: 11/28/2022)
  12/16/2022   23    NOTICE of filing a submission communicated to the Court through email by the
                     government on December 16, 2022 by UNITED STATES OF AMERICA (ztg)
                     (Entered: 12/16/2022)
  12/28/2022   24    ORDER GRANTING IN PART and DENYING IN PART Rep. Perry's 21
                     Motion for Nondisclosure to the Executive Branch of Information Protected by
                     the Speech or Debate Clause of the United States Constitution. See order for
                     further details. Signed by Chief Judge Beryl A. Howell on December 28, 2022.
                     Counsel has been notified electronically.(lcbah4) (Entered: 12/28/2022)
  12/28/2022   25    MEMORANDUM OPINION regarding Rep. Perry's 21 Motion for
                     Nondisclosure to the Executive Branch of Information Protected by the Speech
                     or Debate Clause of the United States Constitution. Signed by Chief Judge Beryl
                     A. Howell on December 28, 2022. Counsel has been notified
                     electronically.(lcbah4) (Entered: 12/28/2022)
  12/29/2022         MINUTE ORDER (paperless) DIRECTING the parties to submit any future
                     sealed filing in this matter to DCD_CMECF_CRSpecial@dcd.uscourts.gov for
                     docketing, with a courtesy copy emailed to
                     Howell_Chambers@dcd.uscourts.gov. Signed by Chief Judge Beryl A. Howell
                     on December 29, 2022. Counsel has been notified electronically.(lcbah4)
                     (Entered: 12/29/2022)
  12/30/2022   26    NOTICE OF APPEAL TO DC CIRCUIT COURT as to 24 Order on Motion for
                     Nondisclosure by REPRESENTATIVE SCOTT G. PERRY. Fee Status: No Fee
                     Paid. Parties have been notified. (zstd) (Entered: 01/02/2023)
  12/30/2022   27    EMGERENGY MOTION to Stay re 24 Order on Motion for Nondisclosure by
                     REPRESENTATIVE SCOTT G. PERRY. (Attachments: # 1 Memorandum of
                     Law in Support)(zstd) (Entered: 01/02/2023)
  12/31/2022         MINUTE ORDER (paperless) ISSUING the following SCHEDULING
                     ORDER: (1) by Tuesday, January 3, 2023 at 5:00 PM, the government shall file
                     any response to Rep. Perry's Emergency Motion to Stay Pending Appeal, which
                     motion was submitted to Chambers on December 30, 2023 at 10:31 PM and may
                     not be docketed until January 3, 2023, and (2) by January 4, 2023 at 10:00 AM,
                     Rep. Perry shall file any reply. Signed by Chief Judge Beryl A. Howell on
                     December 31, 2022. Counsel has been notified electronically.(lcbah4) Modified

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                     to correct typo on 1/3/2023 (ztg). (Entered: 12/31/2022)
  01/02/2023   28    Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion),
                     and Docket Sheet to US Court of Appeals. The fee remains to be paid and
                     another notice will be transmitted when the fee has been paid in the District
                     Court or motion to proceed In Forma Pauperis has been decided re 26 Notice of
                     Appeal to DC Circuit Court. (zstd) (Entered: 01/02/2023)
  01/03/2023   29    Memorandum in opposition to re 27 Emergency Motion for Stay Pending
                     Appeal filed by UNITED STATES OF AMERICA. (zstd) (Entered: 01/04/2023)
  01/04/2023   30    REPLY to opposition to motion re 27 Emergency Motion for Stay Pending
                     Appeal filed by REPRESENTATIVE SCOTT G. PERRY. (zstd) (Entered:
                     01/04/2023)
  01/04/2023         USCA Case Number 23−3001 for 26 Notice of Appeal to DC Circuit Court filed
                     by REPRESENTATIVE SCOTT G. PERRY. (zstd) Modified to correct USCA
                     case number on 1/5/2023 (zstd). (Entered: 01/04/2023)
  01/04/2023   31    MEMORANDUM OPINION & ORDER DENYING Rep. Perry's 27
                     Emergency Motion to Stay. See order for further details. Signed by Chief Judge
                     Beryl A. Howell on January 4, 2023. Counsel has been notified electronically.
                     (lcbah4) Modified on 1/5/2023 (ztg). (Entered: 01/04/2023)
  01/05/2023   32    Supplemental Record on Appeal transmitted to US Court of Appeals re 31 Order
                     on Motion to Stay, 26 Notice of Appeal to DC Circuit Court ;USCA Case
                     Number 23−3001. (zstd) (Entered: 01/05/2023)
  01/05/2023         USCA Appeal Fees received $ 505 receipt number 203754 re 26 Notice of
                     Appeal to DC Circuit Court filed by REPRESENTATIVE SCOTT G. PERRY
                     (zstd) (Entered: 01/09/2023)
  01/06/2023         MINUTE ORDER (paperless) DIRECTING the parties to file, by February 3,
                     2023, a joint status report advising the Court whether any filings on the currently
                     sealed docket may be unsealed, in whole or in part with redactions, including, in
                     particular, the following:

                     (1) Memorandum Opinion & Order, dated November 4, 2022, ECF No. 18;
                     (2) Order, dated December 28, 2022, ECF No. 24;
                     (3) Memorandum Opinion, dated December 28, 2022, ECF No. 25; and
                     (4) Memorandum Opinion & Order, dated January 4, 2023, ECF No. 31. Signed
                     by Chief Judge Beryl A. Howell on January 6, 2023. Counsel has been notified
                     electronically. (lcbah4) (Entered: 01/06/2023)
  01/09/2023         Set/Reset Deadlines: Response to Order of the Court due by 2/3/2023. (ztg)
                     (Entered: 01/09/2023)




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 MIME−Version:1.0
 From:DCD_ECFNotice@dcd.uscourts.gov
 To:DCD_ECFNotice@localhost.localdomain
 Bcc:
 −−Case Participants: Timothy Adam Duree (timothy.duree2@usdoj.gov), Thomas Windom
 (thomas.windom@usdoj.gov), Chief Judge Beryl A. Howell (bah_dcdecf@dcd.uscourts.gov,
 teresa_gumiel@dcd.uscourts.gov)
 −−Non Case Participants: Alison E. Grossman (alison_grossman@cadc.uscourts.gov), Clerk of
 Court, US Court of Appeals (dcnoa@cadc.uscourts.gov)
 −−No Notice Sent:

 Message−Id:8103008@dcd.uscourts.gov
 Subject:Activity in Case 22−2144 Sealed v. Sealed (Redacted Notice)
 Content−Type: text/html

                                             U.S. District Court

                                            District of Columbia

 Notice of Electronic Filing


 The following transaction was entered on 1/9/2023 at 4:24 PM EDT and filed on 1/5/2023

 Case Name:       FORENSIC COPY OF THE DEVICE IDENTIFIED IN ATTACHMENT A
 Case Number:     1:22−sc−02144−BAH *SEALED*
 Filer:
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